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                                    1   RONALD D. KENT (Bar No. 100717)
                                        ronald.kent@dentons.com
                                    2   DENTONS US LLP
                                        4675 MacArthur Court, Suite 1250
                                    3   Newport Beach, California 92660
                                        Telephone: (949) 732-3700
                                    4   Facsimile: (949) 732-3739
                                    5   WILLIAM T. O’BRIEN (pending admission pro hac vice)
                                        william.obrien@dentons.com
                                    6   DENTONS US LLP
                                        1900 K Street, N.W.
                                    7   Washington, D.C. 20006
                                        Telephone: (202) 496-7500
                                    8   Facsimile: (202) 496-7756
                                    9   Attorneys for Defendant
                                        Thales Avionics, Inc.
                                   10
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NEWPORT BEACH, CALIFORNIA 92660




                                   11                        UNITED STATES DISTRICT COURT
       DENTONS US LLP




                                   12                       CENTRAL DISTRICT OF CALIFORNIA
         (949) 732-3700




                                   13
                                   14   WAMAR INTERNATIONAL, LLC, a Case No. 8:18-CV-2217
                                        California limited liability company,
                                   15                                         NOTICE OF REMOVAL
                                                         Plaintiff,
                                   16                                         Orange County Superior Court
                                              vs.                             Case No. 30-2018-01031861-CU-BC-CXC
                                   17
                                        THALES AVIONICS, INC., a                [Civil Case Cover Sheet, Notice of
                                   18   Delaware corporation; THALES, S.A.,     Interested Parties and Corporate Disclosure
                                        a public joint stock company            Statement filed concurrently]
                                   19   organized under the laws of France;
                                        JEAN-MARC BUDIN, an individual;         Complaint Filed:     Nov. 8, 2018
                                   20   and DOES 1 through 20, inclusive        Trial Date:          None Set
                                   21                  Defendants.
                                   22
                                   23         TO: THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                                   24               THE CENTRAL DISTRICT OF CALIFORNIA AND TO
                                   25               PLAINTIFF AND ITS ATTORNEYS OF RECORD:
                                   26
                                   27         PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1367, 1441,
                                   28   and 1446, Defendant Thales Avionics, Inc. (“Thales Avionics”), by and through its
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                                    1   undersigned counsel, hereby removes this proceeding, entitled Wamar
                                    2   International, LLC v. Thales Avionics, Inc., Thales, S.A. and Jean-Marc Budin,
                                    3   Case No. 30-2018-01031861-CU-BC-CXC, currently pending in the Superior Court
                                    4   of the State of California, County of Orange (“Superior Court”), to this Court. The
                                    5   grounds for removal are as follows:
                                    6         I. BACKGROUND AND PARTIES
                                    7         Plaintiff Wamar International, LLC (“Wamar”) filed its complaint on
                                    8   November 8, 2018 (“Complaint”).1 Thales Avionics was served with the
                                    9   Complaint on November 14, 2018.2 Thales Avionics has no knowledge that Mr.
                                   10   Jean-Budin, a French national, has been served with process. Wamar’s counsel has
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                                   11   claimed to counsel for Thales Avionics that Wamar has served Thales, S.A, but
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                                   12   such purported service appears to be improper and ineffective. Nevertheless, in an
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                                   13   abundance of caution, Thales Avionics submits a statement from Thales, S.A.
                                   14   consenting to removal, which is attached as Exhibit 2. In that consent, Thales,
                                   15   S.A., reserves its right to object to Wamar’s purported service upon it and move to
                                   16   quash, along with its right to seek dismissal for the lack of personal jurisdiction and
                                   17   its right to compel arbitration.
                                   18         Wamar’s Complaint raises fourteen (14) causes of action ranging from
                                   19   breach of contract to quantum meruit, which all arise out of the same allegations.
                                   20   The crux of Wamar’s causes of action is that Thales Avionics, coordinating with
                                   21   the other two defendants, entered into agreements with Wamar but then refused to
                                   22   pay the allegedly promised compensation. Among these causes of action is a
                                   23   federal claim under the Racketeer Influenced and Corrupt Organizations Act
                                   24   (“RICO”), 18 U.S.C. §1961 et seq.
                                   25
                                        1
                                   26     True and correct copies of all process, pleadings, and orders served upon
                                        defendants are attached as Exhibit 1.
                                   27   2
                                          Aside from removing the above-mentioned matter from the Superior Court to this
                                        Court, Thales Avionics is not waiving any rights, defenses, or objections, including
                                   28   its right to compel arbitration.
                                                                                 -2-
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                                    1         Wamar seeks $240.75 million in actual damages, $720 million in exemplary
                                    2   damages, and $720 million in RICO damages. Ex. 1, Complaint at Section V.
                                    3   Prayer. Put another way, the damages alleged for its federal RICO claim is nearly
                                    4   half of the damages Wamar seeks in its prayer for relief.
                                    5         II. BASIS FOR REMOVAL
                                    6         Thales Avionics may properly remove this case to this Court pursuant to 28
                                    7   U.S.C. § 1441(a). The Court has original subject-matter jurisdiction pursuant to 28
                                    8   U.S.C. § 1331 because the Complaint asserts a federal statutory claim. Specifically,
                                    9   the Complaint asserts in the thirteenth cause of action RICO violations under 18
                                   10   U.S.C. §1961 et seq., based on alleged wire and mail fraud under 18 U.S.C. §§
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                                   11   1341 and 1343, and alleged money laundering under 18 U.S.C. § 1956. Ex. 1,
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                                   12   Complaint at ¶¶352-71. Further, Wamar seeks damages, fees, and costs pursuant to
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                                   13   18 U.S.C. § 1964(c). Id. at ¶371.
                                   14         It is well established that when a complaint “alleges a RICO claim, which is
                                   15   a claim created by federal law, it is an action within the Court’s original
                                   16   jurisdiction. As an action within the Court’s original jurisdiction, Defendants could
                                   17   properly remove it to this Court.” Tap Holdings LLC v. PNC Bank, CV 08-6310
                                   18   PA (JTLx), 2008 U.S. Dist. LEXIS 126946, at *5 (C.D. Cal. Nov. 24, 2008); see
                                   19   also, Brewer v. Wells Fargo Bank, N.A., CV 13-03207 DMG (VBK), 2013 U.S.
                                   20   Dist. LEXIS 193676, at *10-11 (C.D. Cal. Jul. 16, 2013) (noting that “RICO is a
                                   21   federal statute which establishes federal question jurisdiction” making it proper to
                                   22   remove case to federal court); Bogosian v. CR Title Servs., 5:11-cv-02043 EJD
                                   23   (HRL), 2011 U.S. Dist. LEXIS 91072, at *5-7 (N.D. Cal. Aug. 16, 2011) (noting
                                   24   that “court may exercise removal jurisdiction” based upon the finding that “the
                                   25   complaint raises federal questions [e.g., RICO claims] on its face”); Destfino v.
                                   26   Kennedy, CV-F-08-1269 LJO DLB, U.S. Dist. LEXIS 95149, at *3-4 (E.D. Cal.
                                   27   Nov. 12, 2008) (noting that “the RICO claim is a federal claim and which appears
                                   28   on the face of the complaint” making is sufficient removal from state court to
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                                    1   federal court). Further, “[w]hile the action could have remained in state court, the
                                    2   decision to remove the action was squarely within Defendant’s power.” Tap
                                    3   Holdings, 2008 U.S. Dist. LEXIS 126946 at *6.
                                    4         Here, a claim created and governed by federal law appears on the face of
                                    5   Wamar’s Complaint. Wamar’s federal RICO claim not only raises a substantial
                                    6   federal question but is based on a common nucleus of operative facts as its state-
                                    7   law claims. Specifically, Wamar’s RICO allegations not only rely upon but echo
                                    8   the same allegations that Thales Avionics, coordinating with the other two
                                    9   defendants, entered into agreements with Wamar but then refused to pay allegedly
                                   10   promised compensation. E.g., Cf., Ex. 1, Complaint at ¶¶172, 184 and 202 with
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                                   11   ¶¶354 and 358. Thus, “this Court has supplemental jurisdiction over [Wamar’s]
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                                   12   state law claims” under 28 U.S.C. § 1367. Destfino, 2008 U.S. Dist. LEXIS 95149
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                                   13   at *5-6 (citing Brady v. Brown, 51 F.3d 810, 815 (9th Cir. 1995)). As such, the
                                   14   Court has jurisdiction over all the claims asserted by Wamar in its Complaint.
                                   15         III. REMOVAL TO THIS COURT IS TIMELY AND PROPER
                                   16         Thales Avionics has filed this Notice of Removal within thirty days of
                                   17   November 14, 2018, when it was served with the Complaint. Therefore, this Notice
                                   18   of Removal is timely filed in accordance with 28 U.S.C. § 1446(b). Thales
                                   19   Avionics has further attached hereto a copy of all process, pleadings, and orders
                                   20   served upon defendant pursuant to 28 U.S.C. § 1446(a).
                                   21         As noted above, Thales Avionics has no knowledge that Mr. Jean-Marc
                                   22   Budin has been served with the Complaint. This, however, does not pose a
                                   23   procedural defect at this stage. “[D]efendants who have not been properly served at
                                   24   the time the removal notice is filed are not required to join, and their consent can be
                                   25   subsequently obtained.” Bogosian, 2011 U.S. Dist, LEXIS 91072 at *7-8 (citing
                                   26   Destfino v. Reiswig, 630 F.3d 952, 956-57 (9th Cir. 2011)). Indeed, Thales
                                   27   Avionics has fulfilled its obligation under 28 U.S.C. § 1446(b) by explaining in the
                                   28   affirmative above that Budin is effectively non-joining defendants due to Wamar’s
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                                    1   failure to properly serve them at the time of this removal action. Id. (citing Prize
                                    2   Frize, Inc v. Matrix Inc., 167 F.3d 1261, 1266 (9th Cir. 1999), superseded by statute
                                    3   on other grounds, 28 U.S.C. § 1453(b)).
                                    4         As evidenced by the written consent attached as Exhibit 2, Thales S.A.
                                    5   consents to this removal.
                                    6         Finally, pursuant to 28 U.S.C. § 1446(d), Thales Avionics will promptly
                                    7   serve on Wamar and file with the clerk of the Superior Court this Notice, together
                                    8   with written notice thereof. Thales Avionics will also file with this Court a
                                    9   certificate of service upon Wamar and of the filing with the Superior Court.
                                   10         IV. CONCLUSION
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                                   11         Wherefore, Thales Avionics respectfully removes this proceeding, entitled
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                                   12   Wamar International, LLC v. Thales Avionics, Inc., Thales, S.A. and Jean-Marc
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                                   13   Budin, Case No. 30-2018-01031861-CU-BC-CXC, currently pending in the
                                   14   Superior Court of the State of California, County of Orange, to this Court.
                                   15
                                   16   Dated: December 13, 2018                    Respectfully submitted,
                                   17                                               DENTONS US LLP
                                   18
                                   19                                               By: /s/ Ronald D. Kent
                                                                                       Ronald D. Kent
                                   20
                                                                                    Attorneys for Defendant
                                   21                                               Thales Avionics, Inc.
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